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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG


 UNITED STATES OF AMERICA,

                         Plaintiff,

 v.                                                   CRIMINAL ACTION NO.: 1:22-CR-23-1
                                                      (JUDGE KLEEH)
 ELI SCOTT VILLERS,

                         Defendant.


                        REPORT AND RECOMMENDATION
                   CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Judge for

 the purpose of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. On

 May 24, 2022, came the United States of America (“the Government”) by its counsel, Brandon S.

 Flower, Assistant United States Attorney, by videoconference, and also came Defendant Eli Scott

 Villers, in person and by counsel, Hilary L. Godwin, for a change of plea hearing.

        The Court determined that Defendant was prepared to enter a plea of “Guilty” to Count

 One and Count Two of the Indictment, charging him with (1) Conspiracy to Commit Bribery of

 Public Officials and (2) Bribery of Public Official, respectively, without a written plea agreement.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath

 and inquiring into Defendant’s competency. The Court determined Defendant was competent to

 proceed with the Rule 11 plea hearing and cautioned and examined Defendant under oath

 concerning all matters mentioned in Rule 11.

        The Court next inquired of Defendant concerning his understanding of his right to have

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 an Article III Judge hear the entry of his guilty plea and his understanding of the difference

 between an Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court

 that he voluntarily waived his right to have an Article III Judge hear his plea and voluntarily

 consented to the undersigned Magistrate Judge hearing his plea. Defendant tendered to the Court

 a written Waiver of Article III Judge and Consent to Enter Guilty Plea before Magistrate

 Judge. The waiver and consent was signed by Defendant, countersigned by Defendant's counsel,

 and concurred by the signature of the Assistant United States Attorney.

        Upon consideration of the sworn testimony of Defendant, as well as the representations

 of his counsel and the representations of the Government, the Court finds that the oral and

 written waiver of an Article III Judge and consent to enter a guilty plea before a Magistrate Judge

 was freely and voluntarily given. Additionally, the Court finds that the written waiver and consent

 was freely and voluntarily executed by Defendant Eli Scott Villers, only after having had his

 rights fully explained to him and having a full understanding of those rights through consultation

 with his counsel, as well as through questioning by the Court. The Court ORDERED the written

 Waiver and Consent to Enter Guilty Plea before a Magistrate Judge filed and made part of the

 record. [ECF No. 55].

        The parties represent to the Court that there is no plea agreement in this case. Defendant

 stated in open court that he fully understood he was pleading guilty to Count One and Count Two

 of the Indictment, and that no other agreements had been made between himself and the

 Government. In addition, the Defendant and counsel acknowledged that a plea agreement was

 presented to the Defendant, but after considering the plea agreement and discussing the plea


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 agreement with his counsel, he decided to plead guilty to Count One and Count Two without a

 plea agreement.

        The Court confirmed that Defendant had received and reviewed with his attorney the

 original Indictment in this matter. The Court reviewed with Defendant Count One and Count Two

 of the Indictment, including the elements of the crime the United States would have to prove at

 trial, charging him in Count One with (1) Conspiracy to Commit Bribery of Public Officials, in

 violation of Title 18, United States Code, Section 371, and (2) Bribery of Public Official, in

 violation of Title 18, United States Code, Section 201(b)(2)(C). However, before accepting

 Defendant’s plea, the undersigned inquired of Defendant’s understanding of the charges against

 him, inquired of Defendant’s understanding of the consequences of him pleading guilty to the

 charges, and obtained the factual basis for Defendant’s plea. The Government proffered a factual

 basis for the plea. Neither Defendant nor Defendant’s counsel disputed the proffer when given the

 opportunity to do so. Additionally, the Defendant provided a factual basis for the plea.

        The Court then reviewed with Defendant the statutory penalties for Count One and Count

 Two, to which Defendant proposed to enter a plea of guilty, and the impact of the sentencing

 guidelines on sentencing in general. From said review, the undersigned Magistrate Judge determined

 Defendant understood the nature of the charges pending against him. Defendant also understood the

 possible statutory maximum sentence which could be imposed upon his conviction or adjudication

 of guilty on Count One was up to five (5) years of imprisonment, a fine of $250,000.00, and a period

 of supervised release of up to three (3) years. Further, Defendant understood the possible statutory

 maximum sentence which could be imposed upon his conviction or adjudication of guilty on Count

 Two was up to fifteen (15) years of imprisonment, a fine of $250,000.00, and a period of supervised

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 release of up to three (3) years.

         Defendant also understood that the Court would impose a special mandatory assessment

 of $100.00 per offense for having been convicted of felony offenses, for a total of $200.00.

 Defendant further understood that his sentence could be increased if he had a prior firearm

 offense, violent felony conviction, or prior drug conviction. He also understood that he might be

 required by the Court to pay the costs of his incarceration, supervision, and probation.

         The Court reviewed with Defendant all of the rights that are forfeited by tender of a plea

 of guilty. The Court advised Defendant of his right to plead not guilty and maintain that plea during

 a trial before a jury of his peers. The Court also informed Defendant of the right to be represented

 by counsel during trial, the right to confront and cross-examine witnesses, the right not to testify,

 the right to present evidence and subpoena witnesses and the right to have the Government prove

 its case beyond a reasonable doubt. The Court also noted that the jury’s verdict must be unanimous.

 Defendant stated in open court that he understood all of these rights and understood that he would

 be giving up all of these rights by entering a plea of guilty.

       The undersigned also inquired of Defendant whether he understood that by pleading guilty,

 he was forfeiting other rights such as the right to vote, right to serve on a jury, and the right to

 legally possess a firearm. Additionally, the undersigned asked Defendant whether he understood

 that if he were not a citizen of the United States, by pleading guilty to felony charges he would be

 subject to deportation at the conclusion of any sentence; that he would be denied future entry into

 the United States; and that he would be denied citizenship if he ever applied for it. Defendant stated

 that he understood.



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        Defendant stated that he understood all of the consequences of pleading guilty. Defendant

 was also advised of his appellate rights, and further advised that any notice of appeal must be

 entered within fourteen (14) days of judgment being entered.

        Defendant stated that the plea was not a result of any threat, coercion, or harassment and

 that the plea was not the result of any promises. Defendant stated there was nothing he had asked

 his lawyer to do that was not done. Defendant further stated that his attorney had adequately

 represented him in this matter and that neither he nor his attorney had found an adequate defense

 to the charges contained in Count One and Count Two of the Indictment.

        The undersigned Magistrate Judge informed Defendant that he would write the subject Report

 and Recommendation and a pre-sentence investigation report w o u l d be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the

 District Judge would adjudicate the Defendant guilty of the felonies charged under Count One and

 Count Two of the Indictment. Only after the District Court had an opportunity to review the

 pre-sentence investigation report, would the District Court make a determination as to whether to

 accept or reject any recommendation or stipulation contained within the pre-sentence report.

        The Court informed Defendant that the Sentencing Guidelines are merely advisory. However,

 under the Sentencing Reform Act of 1984, certain Sentencing Guidelines could be used in determining

 a sentence in this case. Defendant stated that he had reviewed the various factors taken into

 consideration by the Sentencing Guidelines with his attorney and that he understood that the sentence

 could not be determined until after the United States Probation Office had prepared a presentence

 report and a sentencing hearing conducted. The undersigned also advised, and Defendant stated

 that he understood, that the Sentencing Guidelines are no longer mandatory, and that, even if the

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 District Judge did not follow the Sentencing Guidelines or sentenced him to a higher sentence

 than he expected, he would not have a right to withdraw his guilty plea.

        Defendant further stated that his attorney showed him how the advisory guideline chart

 worked but did not promise him any specific sentence at the time of sentencing. Defendant stated

 that he understood his attorney could not predict or promise him what actual sentence he would

 receive from the sentencing judge at the sentencing hearing. Defendant further understood there

 was no parole in the federal system, but that he may be able to earn institutional good time, and

 that good time was not controlled by the Court, but by the Federal Bureau of Prisons.

        Defendant, Eli Scott Villers, with the consent of his counsel, Hilary L. Godwin, proceeded

 to enter a verbal plea of GUILTY to the felony charges in Count One and Count Two of the

 Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of

 and understood his right to have an Article III Judge hear and accept his plea and elected to

 voluntarily consent to the undersigned United States Magistrate Judge hearing his plea; Defendant

 understood the charges against him, as to Count One and Count Two of the Indictment; Defendant

 understood the consequences of his plea of guilty, in particular the maximum statutory penalties

 to which he would be exposed for Count One and Count Two; Defendant made a knowing and

 voluntary plea of guilty to Count One and Count Two of the Indictment; and Defendant's plea is

 independently supported by the Government's proffer which provides, beyond a reasonable doubt,

 proof of each of the essential elements of the charges to which Defendant has pled guilty.

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          The undersigned Magistrate Judge therefore RECOMMENDS Defendant's plea of guilty

 to Count One and Count Two of the Indictment herein be accepted conditioned upon the Court's

 receipt and review of this Report and Recommendation.

          Defendant is RELEASED on the terms of the Order Setting Conditions of Release

 previously filed herein. [ECF Nos. 30, 45].

          IF COUNSEL ANTICIPATES A LENGTHY SENTENCING HEARING, PLEASE

 NOTIFY THE DISTRICT COURT SO THAT AN ADEQUATE AMOUNT OF TIME CAN

 BE SCHEDULED FOR IT.

          Any party shall have fourteen days from the date of filing this Report and Recommendation

 within which to file with the Clerk of this Court, specific written objections, identifying the

 portions of the Report and Recommendation to which objection is made, and the basis of

 such objection. A copy of such objections should also be submitted to the United States District

 Judge. Objections shall not exceed ten (10) typewritten pages or twenty (20) handwritten pages,

 including exhibits, unless accompanied by a motion for leave to exceed the page limitations,

 consistent with LR PL P 12.

          Failure to file written objections as set forth above shall constitute a waiver of de novo

 review by the District Court and a waiver of appellate review by the Circuit Court of

 Appeals. Snyder v. Ridenour, 889 F.2d 1363 (4th Cir. 1989); Thomas v. Arn, 474 U.S. 140 (1985);

 Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir.

 1984).

          The Clerk of the Court is directed to send a copy of this Report and Recommendation

 to counsel of record, as applicable, as provided in the Administrative Procedures for Electronic

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 Case Filing in the United States District Court for the Northern District of West Virginia.

        Respectfully submitted on May 25, 2022.




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